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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                    :
PRESIDENT, INC., et. al.,              : No: 4:20-CV-02078-MWB
                                       :
            Plaintiffs                 :
      v.                               :
                                       :
KATHY BOOCKVAR, et. al.,               :
                                       :
            Defendants                 :


                 IN THE MATTER OF APPLICATION FOR
                PRO HAC VICE ADMISSION TO PRACTICE
                           IN THIS COURT

                PETITION OF RUDOLPH WILLIAM GIULIANI

      I, Rudolph William Giuliani, hereby petition the United States District

 Court for the Middle District of Pennsylvania to admit me to practice before that

 Court. In support of my petition, I state as follows:

      My office address is:

      445 Park Ave FL 18
      New York, NY 10022-2606


Office Telephone: (212) 931-7301.

I was admitted to practice before the Courts listed below on the date shown after

the name of each Court, and I am currently a member in good standing of all those

Courts.


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      All courts of the State of New York (admitted 6/25/1969).

      United States Supreme Court

      District of Columbia Bar

      United States Court of Appeals for the Second Circuit

      United States District Court for the Southern District of New York



      My attorney Identification number is: 1080498 (NY).

_________________________________________________________________

FOR COURT USE ONLY

_____ GENERAL ADMISSION:

GRANTED BY THE COURT: ______________________ Date: _____________

_____ SPECIAL ADMISSION:

GRANTED BY THE COURT _______________________ Date: _____________

__________________________________________________________________


      All occasions, if any, on which I have been convicted of a crime (subsequent

to my becoming an attorney), censured, suspended, disciplined or disbarred by any

court are set forth as follows: (State the facts and circumstances connected with

each; if none, state “none”.)

      ANSWER: NONE.



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      All occasions, if any, on which I have been held in contempt of court are set

forth as follows: (State the nature and final disposition of contempt; if none, state

“none”.)

      ANSWER: NONE.

      I do not have any disciplinary action, contempt or other proceedings

involving me pending before any court.

      I am seeking:

      ___ General Admission under Local Rule LR 83.8.1

      √ Special Admission (specify by a check which rule) under

      LR 83.8.2.1 √ , LR 83.8.2.2 __, LR 83.8.2.3 __, or LR 83.8.2.4__

      If seeking special admission under Local Rules LR 83.8.2.1, LR 83.8.2.2,

LR 83.8.2.3, or LR 83.8.2.4, the basis for my admission under the designated rule

is as follows:

      ANSWER: I am admitted to practice in the United States District Court for

the Southern District of New York, and the Court of Appeals of New York. I am

a member of the bar in good standing in every jurisdiction where I am

admitted to practice, and am not subject to pending disciplinary proceedings in any

jurisdiction. I seek pro hac vice admission so that I may represent the Plaintiffs in

the civil action pending in this Court at No. 4:20-cv-02078-MWB, Donald J.

Trump for President, Inc., et al v. Kathy Boockvar, et al. My associate counsels


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will be Marc A. Scaringi, Esq., and Brian C. Caffrey, Esquire, members of the bar

of this Court.

      NAME THE PARTY YOU REPRESENT:

      Donald J. Trump for President, Inc.; Lawrence Roberts; and David John

Henry, Plaintiffs.



If special admission is requested for a particular case, please list case number and

caption:

Case # 4:20-cv-02078-MWB.

Caption # Same as above.

I understand that:

      1) If seeking admission under Section LR 83.8.2.2, LR 83.8.2.3, or 83.8.2.4,

I must submit a letter from a superior stating the agency with which I am

employed and the duties performed which qualify me for admission under

those sections.

      2) If petitioning for admission, only in a particular case, under Rule LR

83.8.2.1, I need no sponsor’s certificate. Any attorney specially admitted under LR

83.8.2.1, shall, in each proceeding in which he or she appears, have

associate counsel who is generally admitted under Local Rule 83.8.1 to

practice in this court, whose appearance shall also be entered of record and


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upon whom all pleadings, motions, notices, and other papers may be served

in accordance with any statute or applicable rule. The attendance of any

such associate counsel upon the hearing of any motion or the taking of any

testimony shall be sufficient appearance for the party or parties represented

by such associate counsel. Either the specially admitted attorney or

associate counsel must be fully prepared to participate in any hearings,

arguments, conferences and trials. (See LR 83.9)

      If special admission is requested for a particular case, please list the name,

address, telephone number and bar identification number of associate

counsel to be entered of record in the case:



                                 Marc A. Scaringi
                              marc@scaringilaw.com
                          PA Supreme Court ID No. 88346
                                  Brian C. Caffrey
                              brian@scaringilaw.com
                          PA Supreme Court ID No. 42667
                                   Scaringi Law
                         2000 Linglestown Road, Suite 106
                               Harrisburg, PA 17110
                                 717-657-7770 (o)
                                 717-657-77797 (f)




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      3) If seeking general admission under Rule LR 83.8.1, I must be a member

of the bar of the Supreme Court of Pennsylvania and have a sponsor who is a

member in good standing of the Bar of this Court present to move for my

admission and I must submit the sponsor’s certificate with my petition.

                                       /s/ Rudolph W. Giuliani

                                       PETITIONER
                                       NY ID No. 1080498
                                       445 Park Avenue FL 18
                                       New York, NY 10022-2606
                                       (212) 931-7301
November 17, 2020

By signing this petition for admission, I acknowledge that I have read the attached

Middle District of Pennsylvania Code of Professional Conduct and agree to

subscribe to the standards set forth in the Code.




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                    UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                   CODE OF PROFESSIONAL CONDUCT


      As a member of the Bar of the United States District Court for the Middle

District of Pennsylvania, I will strive for the following professional ideal:

      1. The rule of law will govern my entire conduct. I will not violate the law or

place myself above the law.

      2. I will treat with civility and respect the lawyers, clients, opposing parties,

the court and all the officials with whom I work. Professional courtesy is

compatible with vigorous advocacy and zealous representation. Even though

antagonism may be expected by my client, it is not part of my duty to my client.

      3. I will respect other lawyers' schedules as my own, and will seek

agreement on meetings, depositions, hearings, and trial dates. A reasonable request

for a scheduling accommodation should never be unreasonably refused.

      4. Communications are life lines. I will keep the lines open. Telephone calls

and correspondence are a two-way channel; I will respond to them promptly.

      5. I will be punctual in appointments, communications and in honoring

scheduled appearances. Neglect and tardiness are demeaning to others and to the

judicial system.

      6. I will earnestly attempt to resolve differences through negotiation,

expeditiously and without needless expense.
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      7. Procedural rules are necessary to judicial order and decorum. I will be

mindful that pleadings, discovery processes and motions cost time and money. I

will not use them heedlessly. If an adversary is entitled to something, I will provide

it without unnecessary formalities.

      8. I will not engage in conduct that brings disorder or disruption to the

courtroom. I will advise my client and witnesses appearing in court of the proper

conduct expected and required there and, to the best of my ability, prevent my

client and witnesses from creating disorder or disruption.

      9. Before dates for hearings or trials are set, or if that is not feasible

immediately after such date has been set, I will attempt to verify the availability of

necessary participants and witnesses so I can promptly notify the court of any

likely problems.



I agree to subscribe to the above Code of Professional Conduct:

/s/ Rudolph W. Giuliani
Signature




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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                     :
PRESIDENT, INC., et. al.,               : No: 4:20-CV-02078-MWB
                                        :
             Plaintiffs                 :
      v.                                :
                                        :
KATHY BOOCKVAR, et. al.,                :
                                        :
             Defendants                 :

                          CERTIFICATE OF SERVICE

      I, Deborah A. Black, Paralegal for Scaringi Law, do hereby certify that I

served a true and correct copy of the Petition of Rudolph William Giuliani -

Application for Pro Hac Vice Admission to Practice, in the above-captioned

action, upon all parties registered to receive same via electronic mail.




Date: November 17, 2020                 /s/ Deborah A. Black____________
                                        Deborah A. Black, Paralegal
                                        For Marc A. Scaringi, Esquire and
                                        Brian C. Caffrey, Esquire
